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                    UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF CALIFORNIA

LT. COL. JONATHAN DUNN, an
individual.

       Plaintiff,                          Case No. 2:22-cv-00288
          v.
                                           SEALING ORDER
LLOYD J. AUSTIN, III, in his official
capacity as United States Secretary of     Judge: Hon. John Mendez
Defense; FRANK KENDALL, in his
official capacity as United States
Secretary of the Air Force; COL.
GREGORY HAYNES, in his official
capacity; MAJ. GEN. JEFFREY
PENNINGTON, in his official
capacity;     UNITED         STATES
DEPARTMENT OF DEFENSE,
       Defendants.




      On February 16, 2022, Plaintiff file a request to seal ECF No. 4-2 on the ground

that it contains personal identifying information. The Court hereby GRANTS Plaintiff’s

request and ECF No. 4-2 is SEALED. Plaintiff is ORDERED to refile a redacted version

of the document that omits the personal identifying information described in Plaintiff’s

request to seal.



 DATED: February 17, 2022            /s/ John A. Mendez
                                     THE HONORABLE JOHN A. MENDEZ
                                     UNITED STATES DISTRICT COURT JUDGE


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